         Case 2:20-cv-00309-AKK Document 1 Filed 03/06/20 Page 1 of 4                      FILED
                                                                                  2020 Mar-06 PM 12:06
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

JACQUELINE TOLBERT,                          )
                                             )
             Plaintiff,                      )          CIVIL ACTION NO.
                                             )
      vs.
                                             )
CVS/PHARMACY STORE #04889,                   )
KENNETH TAYLOR, CASSIE                       )
NGUYEN, LINSEY WOODIE and                    )
MEREDITH FRAZIER,                            )
                                             )
             Defendants.

                            NOTICE OF REMOVAL
      Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, Defendant CVS/

Pharmacy Store #04889, whose correct name is Alabama CVS Pharmacy, L.L.C.

(hereinafter “Defendant” or “CVS”), hereby submits this Notice of Removal of the

above-entitled action from the Circuit Court of Jefferson County, Alabama to the

United States District Court for the Northern District of Alabama, Southern

Division. This is a civil action over which this Court has original jurisdiction based

on federal question jurisdiction pursuant to 28 U.S.C. § 1331, and is one that may

be removed to this Court by Defendant pursuant to 28 U.S.C. § 1441(a)-(c)

because it contains claims founded upon federal law. In support of this notice,

CVS shows as follows:
           Case 2:20-cv-00309-AKK Document 1 Filed 03/06/20 Page 2 of 4



      1.      Plaintiff Jacqueline Tolbert (“Plaintiff”) filed this action against CVS,

Kenneth Taylor, Cassie Nguyen, Linsey Woodie and Meredith Frazier in the

Circuit Court of Jefferson County on February 4, 2020.             The Circuit Court

designated the case as Civil Action No. 01-CV-2020-900455.00.

      2.      The Summons and Complaint were served on CVS by certified mail

on or about February 11, 2020. There have been no other proceedings in the

Circuit Court. Copies of all process, pleadings, and orders served upon CVS are

attached as Exhibit 1. The individually-named defendants have not been served

with process of any kind.

      3.      This is a civil action over which this Court has original federal

question jurisdiction pursuant to 28 U.S.C. §1331. Attached to Plaintiff’s

Complaint is a copy of the Charge of Discrimination alleging claims of race

discrimination and retaliation under Title VII of the Civil Rights Act of 1964 that

Plaintiff filed with the U.S. Equal Employment Opportunity Commission, dated

October 25, 2019. Also attached to the Complaint is a copy of the EEOC’s

November 19, 2019 Dismissal and Notice of Rights.             Plaintiff’s State Court

Action, filed thereafter on February 4, 2020, reasserts the claims of race

discrimination and retaliation from her Charge. This case is therefore removable

under 28 U.S.C. § 1441(a).




                                         -2-
           Case 2:20-cv-00309-AKK Document 1 Filed 03/06/20 Page 3 of 4



      4.      By virtue of the provisions of 28 U.S.C. §§ 1331, 1367 and 1441(a),

this case is one that may be removed to this Court in that it is a civil action founded

on claims or rights arising under the laws of the United States.

      5.      The Northern District of Alabama, Southern Division, is the federal

district and division embracing Jefferson County, Alabama. See 28 U.S.C. § 81.

      6.      This notice of removal is filed within thirty days of service of

Plaintiff’s complaint upon CVS and is therefore timely filed under 28 U.S.C. §

1446. Accordingly, removal to this Court is proper under 28 U.S.C. §§ 1441(a)

and 1446.

      7.      The individual defendants will join in CVS’ removal of this action if

and when they are served with process.

      As required by 28 U.S.C. § 1446(d), a notice of the filing of this notice of

removal, along with a copy of this notice, will be filed promptly in the Circuit

Court of Jefferson County, Alabama.


                                            s/ Hayden Bashinski
                                            Hayden Bashinski
                                            Attorney for Defendant
                                            Alabama CVS Pharmacy, L.L.C.
OF COUNSEL:
LITTLER MENDELSON, P.C.
420 20th Street North, Suite 2300
Birmingham, AL 35203-3204
Telephone: 205.421.4700
Facsimile: 205.421.4699
Email: hbashinski@littler.com

                                         -3-
        Case 2:20-cv-00309-AKK Document 1 Filed 03/06/20 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify that on March 6, 2020, a copy of the foregoing will be
served on counsel of record by placing a copy of same in the U.S. mail, first class
postage prepaid, and addressed as follows:

Jacqueline Tolbert
610 8th Avenue West
Birmingham, Alabama 35204

                                        s/ Hayden Bashinski
                                        OF COUNSEL




                                       -4-
